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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

    RODNEY ALLEN                                                 CIVIL ACTION

    VERSUS                                                       NO. 23-4381

    GEOVERA ADVANTAGE INSURANCE                                  SECTION: “P” (1)
    SERVICES

                                    ORDER AND REASONS

         Before the Court is a Motion to Dismiss (R. Doc. 9) filed by Defendant GeoVera

Advantage Insurance Services. Plaintiff brings claims against Defendant for breach of an insurance

policy and violation of La. R.S. § 22:1892 and La. R.S. § 22:1973 for failure to timely pay proceeds

due under the policy. 1 Pursuant to Federal Rule of 12(b)(6), Defendant asks this Court to dismiss

Plaintiff’s claims against it because Defendant did not issue an insurance policy to Plaintiff; rather,

the policy was issued by GeoVera Specialty Insurance Company. 2 Plaintiff notified the Court it

has no opposition to Defendant’s Motion to Dismiss. 3 Accordingly,

         IT IS HEREBY ORDERED that the Motion to Dismiss (R. Doc. 9) filed by Defendant

GeoVera Advantage Insurance Services is GRANTED.

         IT IS FURTHER ORDERED that Plaintiff’s Complaint is DISMISSED with prejudice.

         New Orleans, Louisiana, this 20th day of December 2023.



                                               __________________________________________
                                                      DARREL JAMES PAPILLION
                                                   UNITED STATES DISTRICT JUDGE




1
  R. Doc. 1.
2
  R. Doc. 9.
3
  R. Doc. 11.
